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                   IN THE UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF ARKANSAS
                            WESTERN DIVISION


UNITED STATES OF AMERICA                                                   PLAINTIFF

VS.                            NO. 4:12CR-00143-06-KGB

TENESHIA W. ROBERTS                                                      DEFENDANT


                                          ORDER

       Pending before the Court is a motion for issuance of summons and for revocation

of pretrial release. (Docket entry #117) For good cause shown, the motion for issuance

of summons is GRANTED. The Clerk of Court is directed to issue summons to

Defendant Teneshia W. Roberts for appearance at a hearing before United States

Magistrate Judge Beth Deere on June 25, 2013, at 9:15 a.m. to show cause why her

pretrial release should not be revoked.

       IT IS SO ORDERED this 17th day of June, 2013.



                                          ____________________________________
                                          UNITED STATES MAGISTRATE JUDGE
